     Case 3:21-cv-00669-E Document 18 Filed 07/21/21                Page 1 of 2 PageID 85



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


MARJORIE SILBERBERG,                              §
                                                  §
       PLAINTIFF                                  §
                                                  §
V.                                                § CASE NO. 3:21-CV-00669-E
                                                  §
MARTIN FLEMING, PAUL                              §
SUMMERLIN, AND BLACK DUTCH                        §
MANAGEMENT, LLC,                                  §
                                                  §
                                                  §
       DEFENDANTS.                                §


                             JOINT NOTICE OF SETTLEMENT

       Plaintiff Marjorie Silberberg and Defendants Martin Fleming, Paul Summerlin, and Black

Dutch Management, LLC have executed a settlement agreement that provides for final resolution

of the above-entitled cause of action. Per the terms of the settlement agreement, the plaintiff will

file a notice of dismissal of her claims on or around September 10, 2021, pending the parties’

performance of certain obligations per the terms of the settlement agreement.


Respectfully submitted:


/s/ Kevin M. Duddleten                             /s/ Peter L. Loh
Kevin M. Duddlesten                                Peter L. Loh
Texas Bar No. 00793644                             State Bar No. 24036982
DUDDLESTEN LAW GROUP, PLLC                         Davis W. Mosmeyer, III
Phone: (214) 833-5228                              State Bar No. 24106346
Facsimile: (469) 457-6785                          (214) 999-3000 (telephone)
Email: kevin@duddlestenlawgroup.com                (214) 999-3746 (facsimile)
                                                   ploh@foley.com
ATTORNEYS FOR PLAINTIFF                            dmosmeyer@foley.com

                                                   ATTORNEYS FOR DEFENDANTS
    Case 3:21-cv-00669-E Document 18 Filed 07/21/21                Page 2 of 2 PageID 86



                                CERTIFICATE OF SERVICE

       The undersigned certifies that on July 21, 2021, he filed the foregoing Joint Notice of
Settlement via the Court electronic filing system and served the same on all counsel of record per
the Federal Rules of Civil Procedure.

                                                    /s/ Peter L. Loh
                                                    Peter L. Loh




JOINT NOTICE OF SETTLEMENT                                                                 PAGE 2
